ALTAMONTE SPRINGS CONDOMINIUM ASSOCIATION, INC.
300 CHEROKEE COURT
ALTAMONTE SPRINGS, FLORIDA 32701
(407) 831-6941

5/04/16

Ajit Bhogaita
312C Cherokee Court
Altamonte Springs, Florida 32701

Dear Owner:

it has been reported to the office that you have a dog that is in violation of the Rules &
Regulations. The Associations weight limit for pets, as stated in the Rules & Regulations is 25

pounds and all pets must be registered with the office.

The Rules & Regulations state the following:

“All pets must be registered with the Association Management Office on their prescribed forms,
including a description and photo of your pet. Unregistered pets will be considered trespassers and

will be removed from the property.”

“One pet (dog or cat only) is allowed per unit which shall not exceed twenty five (25) pounds.”
Your pet is not registered with the office and your pet exceeds the 25 pound weight limit.

Please remeve your pet by 5/18/10 er further action may be taken by the Association.

Thank you,

Dawn Warren, Property Manager
